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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

DUSTY LEITZKE,                              )
On Behalf of Herself and All Others         )       JURY TRIAL DEMANDED
Similarly Situated,                         )
                                            )
       Plaintiff,                           )
                                            )
vs.                                         )       Case no.:
                                            )
JPMORGAN CHASE BANK, N.A.                   )
                                            )
       Defendant.                           )


                         PLAINTIFF’S ORIGINAL COMPLAINT
                          Collective Action under FLSA § 216(b)

        Plaintiff Dusty Leitzke, on behalf of herself and all others similarly situated, by and

 through counsel, for her Complaint against Defendant JPMorgan Chase Bank, N.A. (“Chase” or

 “Defendant”) states as follows:

                               PRELIMINARY STATEMENT

 1.     Plaintiff Dusty Leitzke is a current FCOI Investigator for Chase. She performs computer

        data entry work while applying mandatory Chase policies, procedures, and guidelines to

        determine cases Chase assigns her. Chase treats her and other Investigators as exempt,

        salaried employees who are not eligible for overtime compensation for any hours worked

        over 40 per week. Plaintiff and the other Investigators routinely work(ed) hours over 40

        per week without overtime compensation. Chase misclassifies Plaintiff and Investigators

        nationwide as exempt employees.

 2.     Chase treats Plaintiff and other Investigators nationwide as non-exempt, hourly

        production employees, but misclassifies them as exempt employees not entitled to


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     overtime. Chase routinely pushes Investigators to “produce” and “close” cases by

     working long hours during weekdays and the weekends. Chase tracks Investigator

     production on a scorecard and mandates Investigators hit a minimum daily production

     quota. On information and belief, Investigators have complained to Chase about their

     workload, production quotas, and/or exempt status, but Chase has ignored these

     complaints.

3.   This is a collective action brought by Individual and Representative Plaintiff Dusty

     Leitzke on her own behalf and on behalf of the proposed collective and any

     subcollective(s). Plaintiff and the putative collective members are or were employed

     nationwide by Chase as exempt-designated “Investigators” “Investigations Specialists,”

     and other similar investigation employees in similar job titles in Chase’s Fraud

     Compliance Operations and Investigations (“FCOI”) Division, and are or were denied

     overtime compensation as required by federal wage and hour laws (the “FLSA

     Collective”). These employees are similarly situated under the Fair Labor Standards Act

     (“FLSA”), 29 U.S.C. § 216(b).

4.   The FLSA Collective is made up of all persons who are, have been, or will be employed

     by Defendant in FCOI as “Investigators” “Investigations Specialists,” and other similar

     investigation employees in similar job titles in Chase’s FCOI Division (collectively as

     “Investigators”), within the United States at any time within the last three years through

     the date of final disposition of this action (the “Collective Period”).

5.   During the Collective Period, Defendant failed to pay overtime compensation to each

     member of the FLSA Collective as required by federal and state law. Plaintiff seeks relief

     for the FLSA Collective under the FLSA to remedy Defendant’s failure to pay all wages


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      due, pay appropriate overtime compensation, and maintain and distribute accurate time

      records, in addition to injunctive relief.

6.    Chase’s uniform, nationwide policy and practice is to deny earned wages including

      overtime pay to its Investigators. In particular, Chase requires these employees to

      perform work in excess of forty (40) hours per week, but misclassifies them as exempt

      and thus fails to pay them the legally mandated overtime premiums.

7.    Chase’s deliberate illegal misclassification treatment of its Investigators which denies

      them overtime compensation results in Chase willfully violating the FLSA.

8.    Plaintiff will add Rule 23 claims under state wage and hour laws as this case progresses.

                                               PARTIES

9.    Plaintiff Dusty Leitzke currently resides in Florida. Chase currently employs Plaintiff as

      a FCOI Investigator. She has held this position from approximately May 2015 through

      today in Chase’s offices located in Tampa, Florida, and Tempe, Arizona.                Chase

      previously employed her in MB Escalation Research from approximately May 2014

      through June 2015 in Tempe, Arizona. Plaintiff’s Consent to become a Party Plaintiff

      pursuant to 29 U.S.C. § 216(b) is attached as an exhibit.

10.   Defendant JPMorgan Chase Bank, N.A. is nationwide banking association with a

      principal office located at 1111 Polaris Parkway, Columbus, Ohio 43240. Chase does

      business in this judicial district and nationwide thru the internet and other media.

                                JURISDICTION AND VENUE

11.   This Court has original federal question jurisdiction under 28 U.S.C. § 1331 for the

      claims brought under the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201, et seq.

12.   The United States District Court for the Southern District of Ohio has personal

      jurisdiction because Chase conducts business within this District.
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13.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b), inasmuch as Defendant

      has offices, conducts business, and can be found in the Southern District of Ohio, and

      the causes of action set forth herein have arisen and occurred in part in the Southern

      District of Ohio. Venue is also proper under 29 U.S.C. §1132(e)(2) because Defendant

      has substantial business contacts within the state of Ohio.

                                    FACTUAL ALLEGATIONS

14.   Defendant JPMorgan Chase Bank, N.A. is a national banking association that “is one of

      the oldest financial institutions in the United States.” Defendant is a “leader in

      investment banking, financial services for consumers and small businesses, commercial

      banking, financial transaction processing and asset management” whose stock is traded

      on the New York Stock Exchange. https://www.jpmorganchase.com/corporate/About-

      JPMC/about-us.htm.

15.   At all relevant times, Defendant has been, and continues to be, an “employer” engaged

      in the interstate “commerce” and/or in the production of “goods” for “commerce” within

      the meaning of the FLSA, 29 U.S.C. § 203. At all relevant times, Defendant has

      employed, and/or continues to employ, “employee[s],” including Plaintiff and all

      similarly situated employees. At all relevant times, Defendant has had gross operating

      revenues in excess of $500,000.00 which is the threshold test for the “enterprise”

      requirement under the FLSA.

16.   Defendant classifies Plaintiff and other Investigators as exempt employees not entitled

      to overtime and paid them a “salary.”

17.   Defendant did not pay Plaintiff and other Investigators overtime compensation for all

      hours worked over 40 hours per week during the applicable FLSA statute of limitations.


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18.   Plaintiff originally worked as an Investigator in Defendant’s Tempe, Arizona office.

      Chase classified Plaintiff as a non-exempt, hourly employee entitled to overtime during

      the time she performed the Investigator job there.

19.   Subsequently, Plaintiff moved to Defendant’s Tampa, Florida office and resumed her

      Investigator job. Defendant, however, classified Plaintiff as an exempt employee not

      entitled to overtime when she performed the Investigator job in Tampa, Florida. She

      performed the same or similar Investigator job when she worked Tempe, Arizona and

      Tampa, Florida.

20.   Defendant uniformly applied its exempt-designated, payment structure to all

      Investigators.

21.   Defendant suffered and permitted Plaintiff and other Investigators to work more than forty

      hours per week without overtime compensation for all hours worked. For example,

      Plaintiff and other Investigators regularly worked at least five days a week. They usually

      began work in the early morning. In addition, Plaintiff and other Investigators regularly

      worked into the evenings and on the weekends, causing their hours worked to exceed forty

      in a week on a regular basis.

22.   For example, while an Investigator, Plaintiff’s schedule has fluctuated from day-to-day

      and during the time she has worked for Defendant. Her current regular work schedule has

      her working Mondays through Fridays, generally from 6:00 am until 3:00 pm without any

      breaks or meal periods. As such, during this time period, Plaintiff’s regular schedule had

      her working an average of 45 hours per week. This has been Plaintiff’s approximate work

      schedule for about the last six (6) months.

23.   Prior to this time period, Plaintiff worked longer hours as an Investigator, approximately


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      55-60 hours per week. Defendant, however, failed to pay her overtime compensation for

      the approximately 15-20 hours of overtime work she routinely worked at the appropriate

      regular rate of pay.

24.   On information and belief, Chase is working other Investigators long hours to meet

      mandatory production quotas which includes long work hours during early morning and

      later evening work, and weekend work.

25.   Defendant knows Plaintiff and other Investigators worked more than forty hours in a

      week because Defendant expects Plaintiff and Investigators to be available meet

      production quotas which required working in the evenings and on weekends.

      Defendant’s management employees constantly communicate with Plaintiff and other

      Investigators to direct them to meet production quotas and work long hours to meet these

      quotas.

26.   In addition, for example, Chase knows Plaintiff and other Investigators work long hours

      including overtime because Chase expects Plaintiff and the other Investigators to timely

      work cases in the que to complete their quotas including working in the evenings and on

      the weekends.

27.   Defendant uniformly deny Plaintiff and other Investigators overtime pay.

28.   Defendant classifies Plaintiff and other Investigators as exempt employees who are not

      entitled to overtime compensation.

29.   Defendant uniformly applies this policy and practice to all Investigators nationwide.

30.   In reality, Plaintiff and other Investigators are and were non-exempt employees who are

      and were entitled to hourly and overtime pay for all hours worked per week, and their

      overtime rates should include all compensation paid including bonus incentive


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      compensation.

31.   Plaintiff and the other Investigators have/had the same primary duty of applying

      Defendant’s mandatory guidelines, policies, and procedures via computer data entry to

      verify the accuracy of customer and/or prospective customer submissions.

32.   Plaintiff and other Investigators are and were non-exempt computer, data-entry

      employees who are and were entitled to overtime pay.

33.   Plaintiff and other Investigators do not customarily and regularly make sales at their

      customers’ home or place of business.

34.   Plaintiff and other Investigators do not regularly supervise the work of two or more

      employees.

35.   Plaintiff and other Investigators do not exercise discretion and independent judgment as

      to matters of significance.

36.   Plaintiff and other Investigators do not perform office work related to Chase’s general

      business operations or its customers.

37.   Plaintiff and other Investigators had no advance knowledge in a field of science or

      learning which required specialized instruction that was required to perform the job.

38.   Chase does not require Plaintiff and other Investigators to have a college degree to obtain

      an Investigator job.

39.   All Investigators are similarly situated in that they share common job duties and

      descriptions, Chase treated them as exempt employees, and were all subject to Chase’s

      misclassification policy and practice that failed to pay them overtime compensation.

40.   Defendant did not keep accurate records of the hours Plaintiff and other Investigators

      worked. Because Defendant did not pay Plaintiff and other Investigators for all the hours


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      they worked, including overtime hours, Defendant’s wage statements did not accurately

      reflect all hours Plaintiff and other Investigators worked.

41.   Defendant did not provide Plaintiff and the other Investigators with accurate paychecks.

42.   Defendant did not pay Plaintiff and other Investigators for all their overtime hours.

      Accordingly, Defendant did not provide Plaintiff and other Investigators with all

      compensation owed to them, including their unpaid overtime, at the time they separated

      from the company.

43.   Defendant is aware of wage and hour laws, as evidenced by the fact that Defendant is a

      large, sophisticated employer who employees have previously sued multiple times for

      wage and hour violations, and Defendant provides minimum wage and overtime

      compensation to other employees who are not Investigators.

44.   Defendant’s conduct, as set forth in this Complaint, was willful and in bad faith, and has

      caused significant damages to Plaintiff and other Investigators.

                                       FLSA Collective

45.   Plaintiff brings Count I on behalf of herself and other similarly situated employees as

      authorized under the FLSA, 29 U.S.C. § 216(b). The similarly situated employees are:

      All persons who are, have been, or will be employed by Defendant as “Investigators”
      “Investigations Specialists,” and other similar investigation employees in similar job
      titles in Chase’s Fraud Compliance Operations and Investigations (“FCOI”) Division
      within the United States at any time during the last three years through the entry of
      judgment in this case (“FLSA Collective”).

      Plaintiff will subclass the FLSA Collective as necessary for certification and/or litigation

      purposes.

46.   Upon information and belief, Defendant paid Plaintiff and the FLSA Collective a

      “salary” plus bonus, and suffered and permitted them to work more than forty hours per


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      week without overtime compensation.

47.   Defendant’s exempt classification of Plaintiff and other Investigators is a uniform policy,

      decision, and/or plan that applies to all Investigators.

48.   Defendant’s failure to pay for work hours over 40 per week is a uniform policy, decision,

      and/or plan that applies to all Investigators.

49.   Accordingly, Plaintiff and the FLSA Collective are subject to Defendant’s policy,

      decision, and/or plan of failing to pay appropriate overtime compensation at the

      appropriate rates.

50.   Defendant’s unlawful FLSA conduct has been widespread, repeated, and consistent.

51.   Upon information and belief, Defendant knows that Plaintiff and the FLSA Collective

      performed work that required overtime pay. Defendant requires them to work long hours

      and weekends to hit production quotas without the proper pay, and Plaintiff and/or those

      similarly situated complained to Defendant about these practices. Defendant operates

      under a scheme to deprive these employees of overtime compensation by misclassifying

      them as exempt and failing to properly compensate them for all overtime hours worked.

52.   Defendant’s conduct, as set forth in this Complaint, is and was willful and in bad faith,

      and has caused significant damages to Plaintiff and the FLSA Collective.

53.   Defendant is liable under the FLSA for failing to properly compensate Plaintiff and the

      FLSA Collective, and as such, notice should be sent to the FLSA Collective. There

      are numerous similarly situated, current and former employees of Defendant who have

      been denied overtime pay in violation of the FLSA who would benefit from the issuance

      of a Court supervised notice of the present lawsuit and the opportunity to join. Those

      similarly situated employees are known to Defendant and are readily identifiable through


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       Defendant’s records.

                                       COUNT I
             Collective Action under §216(b) of the FAIR LABOR STANDARDS
                                 ACT Overtime Claims

 54.   Plaintiff hereby incorporate by reference the foregoing paragraphs of this Complaint into

       this count.

 55.   The FLSA requires each covered employer such as Defendant to compensate all non-

       exempt employees at a rate of not less than one and one-half times the regular rate of pay

       for work performed in excess of forty hours per work week.

 56.   The FLSA requires each covered employer such as Defendant to include all

       compensation paid to employees such as incentive compensation and/or bonuses into the

       employees’ regular rate of pay unless that compensation is specifically excluded. The

       FLSA does not exclude Defendant’s incentive compensation and/or bonus payments.

 57.   Plaintiff and the FLSA Collective are entitled to be paid overtime compensation for all

       hours worked at the appropriate rates of pay.

 58.   Defendant, pursuant to its policies and practices, fails and refuses to pay overtime

       premiums to Plaintiff and the FLSA Collective for all of their hours worked.

 59.   Defendant violated the FLSA, 29 U.S.C. § 201 et seq. by failing to compensate Plaintiff

       and the FLSA Collective for all overtime compensation at the legally required rates.

 60.   By failing to record, report, and/or preserve accurate records of hours worked by Plaintiff

       and the FLSA Collective, Defendant failed to make, keep, and preserve records with

       respect to each of their employees sufficient to determine their wages, hours, and other

       conditions and practice of employment, in violation of the FLSA, 29 U.S.C. § 201 et seq.

 61.   The foregoing conduct, as alleged herein, constitutes a willful violation of the FLSA


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        within the meaning of 29 U.S.C. § 255(a).

 62.    Plaintiff, on behalf of herself and the FLSA Collective, seeks damages in the amount of

        all respective unpaid overtime compensation at a rate of one and one-half times the

        regular rate of pay for work performed in excess of forty hours in a work week, plus

        liquidated damages as provided by the FLSA, 29 U.S.C. § 216(b), interest, and such

        other legal and equitable relief as the Court deems just and proper.

 63.    Plaintiff, on behalf of herself and the FLSA Collective seeks recovery of all attorneys’

        fees, costs, and expenses of this action, to be paid by Defendant, as provided by the

        FLSA, 29 U.S.C. § 216(b).

        WHEREFORE, Plaintiff, on behalf of herself and all members of the FLSA Collective,

 prays for relief as follows:

        A. Designation of this action as a collective action on behalf of the FLSA Collective and

 prompt issuance of notice pursuant to 29 U.S.C. § 216(b) to all similarly situated members of

 the FLSA Collective, apprising them of the pendency of this action, and permitting them to assert

 timely FLSA claims in this action by filing individual Consent to Join forms pursuant to

 29 U.S.C. § 216(b);

        B.    A declaration that Defendant is financially responsible for notifying the FLSA

 Collective of its alleged wage and hour violations;

        C. Judgment against Defendant for an amount equal to Plaintiff’ and the FLSA

 Collective’s unpaid overtime wages at the applicable rates;

        D. A finding that Defendant’s conduct was willful;

        E. An equal amount to the overtime wages as liquidated damages;
        F. All costs and attorney’ fees incurred prosecuting these claims, including expert fees;

        G. Pre-judgment and post-judgment interest, as provided by law;
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        H. Leave to add additional Plaintiff by motion, the filing of written consent forms, or

 any other method approved by the Court; and

        I. Such further relief as the Court deems just and equitable.


                                     Demand for Jury Trial

        Plaintiff, individually and behalf of all other similarly situated, hereby demands a jury

 trial on all causes of action and claims with respect to which they have a right to jury trial

 pursuant to Federal Rule of Civil Procedure 38(b).


 Dated June 25, 2019


 Respectfully submitted,


/s/ Robi J. Baishnab
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 *pro hac vice motion forthcoming

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